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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTESVILLE DIVISION
   DOE et al,                                          )
   Plaintiff,                                          )
                                                       ) No. 3:22-CV-00049
   v.                                                  )
                                                       )
   MAST et al,                                         )
   Defendant.                                          )
                                                       )

                         DECLARATION OF EHSON KASHFIPOUR
                  IN SUPPORT OF MOTION FOR PRO HAC VICE ADMISSION

  Pursuant to the requirements of Local Rule 6(d), I, EHSON KASHFIPOUR, hereby declare as

  follows:

        1. My full name is Ehson Kashfipour.

        2. I am an attorney at Latham & Watkins LLP. My office address is 555 Eleventh Street,

           NW, Suite 1000, Washington, DC 20004. My telephone number is (202) 637-1002.

        3. I am not qualified and licensed to practice under the laws of Virginia.

        4. I am qualified and licensed to practice in the District of Columbia (D.C. Bar No.

           1736422).

        5. I have not been disciplined by any bar.

  Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

  correct.

  Dated: November 15, 2022                               /s/ Ehson Kashfipour
                                                         Ehson Kashfipour
                                                         Attorney for Plaintiffs
                                                         Latham & Watkins LLP
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